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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
Vv. Case No. 21-cr-175-
TJK-1
ETHAN NORDEAN,
Defendant.

CABLE NEWS NETWORK, INC., AMERICAN
BROADCASTING COMPANIES, INC. d/b/a
ABC NEWS, THE ASSOCIATED PRESS, BUZZFEED, INC.

d/b/a BUZZFEED NEWS,

CBS BROADCASTING INC. 0/b/o CBS NEWS, DOW
JONES & COMPANY, INC., publisher of

THE WALL STREET JOURNAL, THE E.W. SCRIPPS
COMPANY, GANNETT CO., INC., GRAY MEDIA GROUP,
INC., LOS ANGELES TIMES COMMUNICATIONS LLC,
publisher of THE LOS ANGELES TIMES, NATIONAL
PUBLIC RADIO, INC., NBCUNIVERSAL MEDIA, LLC
d/b/a NBC NEWS, THE NEW YORK TIMES COMPANY,
PRO PUBLICA, INC., TEGNA, INC., AND WP COMPANY
LLC, d/b/a THE WASHINGTON POST,

Proposed Intervenors.

Upon consideration of the Press Coalition’s Motion to Intervene, any response(s) thereto

[PROPOSED] ORDER

and the entire record herein, it is hereby ORDERED that:

1. The Press Coalition’s Motion to Intervene for the limited purpose of challenging

the Government’s designation of the CCTV Videos as “Highly Sensitive” is GRANTED; and

a The Government shall immediately remove its “Highly Sensitive” designation

from the CCTV Videos and make the CCTV Videos available to the Press Coalition.

SO ORDERED.

United States District Judge
